            Case 23-11131-TMH   Doc 641-3   Filed 10/31/23   Page 1 of 3




                                  EXHIBIT C

                                Kraft Declaration




DOCS_DE:245566.3
              Case 23-11131-TMH               Doc 641-3        Filed 10/31/23        Page 2 of 3

                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:                                                                 Chapter 11

AMYRIS, INC., et al.,                                                  Case No. 23-11131 (TMH)

                                   Debtors.1                           (Jointly Administered)


    DECLARATION OF CHARLES KRAFT IN SUPPORT OF DEBTORS’ MOTION
       FOR THE ENTRY OF AN ORDER (I) AUTHORIZING DEBTORS TO
        EXECUTE WRITTEN CONSENT OF THE BOARD OF MANAGERS
           OF NOVVI LLC AND (II) GRANTING RELATED RELIEF

         I, Charles Kraft, hereby declare under penalty of perjury:

         1.      I am the Senior Vice President of Manufacturing at Amyris, Inc. and a member of

the board of managers of Novvi LLC (“Novvi”).

         2.      I am generally familiar with the operations and affairs of the Debtors. I make this

declaration (the “Declaration”) in support of the Debtors’ Motion for the Entry of an Order

(I) Authorizing Debtors to Execute Written Consent of the Board of Managers of Novvi LLC and

(II) Granting Related Relief (the “Motion”).2

         3.      Except as otherwise indicated herein, all facts set forth in this declaration are based

upon my personal knowledge of the Debtors’ operations and finances, information learned from

my review of relevant documents, information supplied to me by members of the Debtors’

management, other personnel, and professional advisors, or my opinion based on my experience,

knowledge, and information concerning the Debtors’ operations and financial condition. To the

extent that the Debtors learn that any information provided herein is materially inaccurate, the

Debtors will act promptly to notify the Court and other parties. However, I believe that all of the



1
    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
    claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal
    place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
    Emeryville, CA 94608.
2
    A capitalized term used but not otherwise defined herein shall have the meaning ascribed to it in the Motion.

DOCS_DE:245566.3
             Case 23-11131-TMH          Doc 641-3        Filed 10/31/23    Page 3 of 3


information contained herein is true to the best of my knowledge, information, and belief. I am

authorized to submit this Declaration on behalf of the Debtors and, if called upon to testify, I could

and would testify competently to the facts set forth herein.

       4.      Novvi is in the process of obtaining additional funding to, among other things,

support its operations. In connection with these activities, Novvi is preparing to undertake several

actions, including entry into a senior secured loan being funded by certain of Novvi’s existing

members (the “Member Loan”). These actions are memorialized in the Consent. Although

Amyris, Inc. does not have an interest in any existing loans to Novvi, it does have the right to

participate, up to its percentage membership interest, in any approved member funding pursuant

to Article 5 of the Fourth Amended and Restated Operating Agreement of Novvi LLC, dated as of

March 12, 2018. Pursuant to the Consent, Amyris, Inc. will waive its right to participate in the

Member Loan.

       5.      I believe that it is in the best interests of the Debtors to execute the Consent.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.


Dated: October 30, 2023
                                                      /s/ Charles Kraft
                                                      Charles Kraft




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DOCS_DE:245566.3
